                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr55

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                   ORDER
                                         )
HOA QUY DO (11)                          )
________________________________________ )


       THIS MATTER is before the Court on the motion of counsel for the defendant

requesting an interim payment for costs of approximately $466 associated with printing hard

copies from CD-ROMs provided by the government in discovery. (Doc. No. 177).

       For the reasons stated in the motion, the Court finds that counsel has stated a sufficient

basis to justify an interim payment for such expense. However, the Court encourages counsel to

contact co-counsel to determine whether any have already printed such material to minimize

unnecessary expenses by the printing company.

       IT IS, THEREFORE, ORDERED that the Motion to Permit Interim Payment is

GRANTED. The amount of the payment will be determined upon submission and review of the

appropriate final documentation.

                                                  Signed: November 15, 2006




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